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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

DYNAENERGETICS EUROPE GMBH, and            )
DYNAENERGETICS US, INC.,                   )
                                           )     Civil Action No: 4:20-cv-02123
      Plaintiffs,                          )
                                           )
      v.                                   )
                                           )
HUNTING TITAN, INC.,                       )
                                           )
      Defendant.                           )
________________________________________   )



       PLAINTIFFS’ MOTION TO DISMISS AND STRIKE DEFENDANT’S
      THIRD COUNTERCLAIM AND FIFTH AFFIRMATIVE DEFENSE FOR
          UNENFORCEABILITY DUE TO INEQUITABLE CONDUCT
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    I.    INTRODUCTION

          Having failed to present persuasive or sufficiently particular arguments in its petitions for

post grant review of the two Patents-in-Suit, 1 Defendant Hunting Titan, Inc. (“Hunting”) now

seeks to attack both the ʼ161 and ʼ938 Patents by making specious claims of inequitable conduct.

          Hunting alleges that DynaEnergetics’ prosecution counsel improperly withheld the Patent

Trial and Appeal Board’s (“Board” or “PTAB”) interpretation of the Schacherer prior art

reference reflected in its Final Written Decision in IPR2018-00600—an inter partes review

proceeding involving a different patent with different claim limitations—from the Examiner

during the prosecution of the ’161 and ’938 Patents. This claim fails as a matter of law as the

following facts are undisputed: (1) the Examiner found the claims of the ʼ161 and ʼ938 Patents

patentable over all of the cited references, including Schacherer, (2) DynaEnergetics cited

materials from IPR2018-00600 to the Examiner during prosecution of the ʼ938 Patent and the

Examiner nevertheless found the claims patentable, (3) Hunting cited Schacherer and the IPR

Final Written Decision in its petitions for post grant review of the ʼ161 and ʼ938 Patents and the

Board declined to institute review for both patents, and (4) the IPR Final Written Decision is not

prior art. The IPR Final Written Decision, therefore, cannot meet the “but for” materiality

requirement to support a claim for inequitable conduct where the Board has expressly found the

claims of the ’161 and ’938 Patents to be patentable over the very arguments/analysis it contains.

          To be clear, Hunting’s inequitable conduct claim is not premised on the intentional

withholding of prior art, it is premised on the purported failure to disclose the Board’s

interpretation of a prior art reference despite that the reference itself was squarely before the

Examiner. Moreover, Hunting’s counterclaim tellingly fails to even acknowledge that this very


1
  U.S. Patent No. 10,429.161 (the “’161 Patent”) and U.S. Patent No. 10,472,938 (the “’938 Patent”) (collectively,
the “Patents-in-Suit”).

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interpretation has since been expressly put before the Board with respect to the Patents-in-Suit

and the Board still rejected Hunting’s validity challenge. It further fails to acknowledge that

significant portions of the Final Written Decision at issue were subsequently overturned by the

Precedential Opinion Panel (“POP”)—made up of the USPTO Director, the Commissioner for

Patents, and the PTAB Chief Judge. Instead, Hunting asserts this Final Written Decision on the

’422 Patent 2—as opposed to the Schacherer reference itself—is but-for material based only on

its speculation that the Examiner’s “patentability analysis was premised on a narrow reading of

Schacherer” (Dkt. 69 ¶¶ 132, 328) and the Examiner would have necessarily “viewed the

teachings of Schacherer differently” (id. ¶¶ 132, 328) based on the Board’s analysis. But the

Board’s refusal to institute review of the ʼ161 and ʼ938 Patents—notwithstanding its

consideration of the IPR Final Written Decision—proves the exact opposite. Hunting is not the

subjective arbiter of patentability and it cannot distort the prosecution record to create

patentability issues where there are none.

           The Court of Appeals for the Federal Circuit has repeatedly denounced claims for

inequitable conduct as a “plague” and a “common litigation tactic” that “is cluttering up the

patent system.” Therasense, Inc. v. Becton, Dickinson & Co., 649 F.3d 1276, 1289 (Fed. Cir.

2011) (citations omitted); see also Kimberly-Clark Corp. v. Johnson & Johnson, 745 F.2d 1437,

1454 (Fed. Cir. 1984) (internal quotations omitted) (“Fraud in the PTO has been overplayed, is

appearing in nearly every patent suit, and is cluttering up the patent system.”); Burlington Indus.,

Inc. v. Dayco Corp., 849 F.2d 1418, 1422 (Fed. Cir. 1988) (“[T]he habit of charging inequitable

conduct in almost every major patent case has become an absolute plague. Reputable lawyers

seem to feel compelled to make the charge against other reputable lawyers on the slenderest

grounds, to represent their client’s interests adequately, perhaps.”). At bottom, the Board’s

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    U.S. Patent No. 9,581,422 (the “’422 Patent”).



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interpretation of Schacherer in the IPR Final Written Decision cannot meet the requirement for

but-for materiality to the patentability of the ʼ161 and ʼ938 Patents as a matter of law. For at

least this reason, Hunting’s Affirmative Defense and Counterclaim for inequitable conduct,

which is nothing more than the dreaded “plague” on our patent system, must be stricken and

dismissed with prejudice.

 II.    NATURE AND STAGE OF THE PROCEEDINGS

        On January 30, 2020, DynaEnergetics filed a lawsuit against Hunting in the Western

District of Texas alleging infringement of its ʼ161 and ʼ938 Patents by Hunting’s H-1 Perforating

Gun System.     DynaEnergetics Europe GmbH v. Hunting Titan, Inc., No. 6:20-cv-00069.

DynaEnergetics filed an Amended Complaint on March 23, 2020 and Hunting moved to transfer

venue to this District on April 7, 2020, which the Court granted. DynaEnergetics filed a Second

Amended Complaint on August 27, 2021 (Dkt. 63) alleging infringement of the ’161 and ’938

Patents. The ’161 Patent and the ’938 Patent claim priority to the same application but protect

patentably distinct inventions. See Dkts. 63-1, 63-2. On September 10, 2021, Hunting answered

the Second Amended Complaint, including by filing its Fifth Affirmative Defense and Third

Counterclaim alleging inequitable conduct with respect to the ʼ161 and ʼ938 Patents. Dkt. 69.

DynaEnergetics hereby moves to dismiss and/or strike Hunting’s inequitable conduct claims.

III.    FACTUAL BACKGROUND

        Hunting’s Fifth Affirmative Defense and Third Counterclaim are virtually identical and

both allege the Patents-in-Suit are unenforceable due to inequitable conduct. See Dkt. 69 ¶¶ 55-

218, 250-414. The alleged inequitable conduct is premised on nondisclosure of “key piece[s] of

prior art in IPR2018-00600” including U.S. Patent No. 9,689,223 (Schacherer) and U.S. Patent

No. 9,080,433 (Lanclos) asserted during the IPR (id. ¶¶ 103, 105, 299, 301) and “prior art,

arguments, and substantive decisions in IPR2018-00600”—in particular, the Final Written


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Decision regarding the ʼ422 Patent (id. ¶¶ 113, 309).               As explained below, the referenced

material was either disclosed or, in the case of the Final Written Decision, immaterial.

                 A. The ’422 Patent

        On February 16, 2018, Hunting filed a Petition seeking inter partes review of the ’422

Patent in IPR2018-00600 (“the ’422 IPR”). The ’422 Patent is also assigned to DynaEnergetics

but belongs to a different patent family, has a different specification, and claims patentably

distinct inventions from the Patents-in-Suit. The PTAB instituted the ’422 IPR on August 21,

2018 and issued its Final Written Decision finding the original and proposed amended claims

unpatentable on August 20, 2019. Dkt. 69 ¶¶ 107-08, 114-15, 303-04, 310-11.

        On July 6, 2020, the POP issued its fourth-ever decision and unanimously confirmed the

patentability of all of DynaEnergetics’ proposed amended claims of the ʼ422 Patent, thereby

vacating the IPR Final Written Decision as to DynaEnergetics’ motion to amend. Exhibit A,

Hunting Titan, Inc. v. DynaEnergetics Europe GmbH, IPR2018-00600, Paper 67 (PTAB July 6,

2020). DynaEnergetics has appealed the PTAB’s finding in the IPR Final Written Decision that

the original claims of the ʼ422 Patent were unpatentable; Hunting Titan has appealed the POP’s

decision in the same proceeding. Hunting Titan, Inc. v. DynaEnergetics Europe GmbH, Nos.

2020-2163, 2020-2191. 3

                 B. The “Key” Prior Art Was Cited During Prosecution of the ʼ161 Patent,
                    and the IPR Final Written Decision is Immaterial to Key Limitations of
                    the ʼ161 Patent.

        The ’161 Patent issued from Application No. 15/617,344, filed June 8, 2017. Dkt. 69

¶¶ 56, 252.      During prosecution, on March 14, 2018, DynaEnergetics submitted an IDS

disclosing U.S. Publication 2012/0247769 (“Schacherer publication”), the publication of the

3
  Hunting’s failure to acknowledge the POP decision vacating in part the Final Written Decision or the parties’
appeal of those decisions to the Federal Circuit—both of which are undisputed, material facts—in its Affirmative
Defense and Counterclaim is intentionally misleading and inexcusable.



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application leading to Schacherer. Id. ¶¶ 57, 59, 253, 255. DynaEnergetics received a Notice of

Allowance on March 25, 2019, and the ’161 Patent issued on October 1, 2019, identifying the

Schacherer publication as one of the References Cited. Id. ¶¶ 65, 261; Dkt. 63-1 at 3. In an

interview conducted with the Examiner on April 9, 2019, the Examiner confirmed that “all IDSs

have been considered.”          Ex. B, April 16, 2019 Comments on Notice of Allowance, at 7.

Tellingly, the elements highlighted by Hunting in its most recent iteration of an inequitable

conduct defense and counterclaim were never at issue with respect to patentability during

prosecution of the ʼ161 Patent. See Dkt 26-2, 1/23/2019 Office Action (the Examiner’s only

office action during prosecution). For example, no patentability issues were raised with respect

to the routine claim terms related to the “gun carrier” nor are those terms “structurally or

functionally equivalent” to a claim reciting “entirely within the perforating gun housing.”

Dkt. 69 ¶¶ 148-49, 344-45. 4 Similarly, the additional limitations cited by Hunting—“a first

connector,” “the first connector positioned in the gun carrier,” and “at least one second connector

positioned in the gun carrier”—were never at issue with respect to patentability during

prosecution of the ʼ161 Patent and are not structurally or functionally equivalent to elements in

the ʼ422 Patent. Id. ¶¶ 153, 155, 349, 351. Finally, the ʼ161 Patent does not recite limitations for

“a shell configured for housing components of the detonator assembly,” “an electrically

contactable line-in portion, an electrically-contactable line-out portion and an electrically

contactable ground portion” or “an insulator positioned between the line-in portion and the line-

out portion” that were at issue in the IPR Final Written Decision.




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  Hunting misleads this Court by alleging that “Plaintiffs argued in the IPR that their amended claims were
patentable based on an ‘entirely within the perforating gun housing’ limitation, an argument the PTAB rejected in
the Final Written Decision” and which limitation is “inherent in ʼ161 Patent Claim 20.” Hunting knows full well that
the POP reversed the panel and found that all of DynaEnergetics’ proposed amended claims were patentable,
including the “entirely within the perforating gun housing” limitation. Dkt. 69 ¶ 352.



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               C. The IPR Materials and “Key” Prior Art Were Cited During Prosecution,
                  and the IPR Final Written Decision is Immaterial to Key Limitations of
                  the ʼ938 Patent.

       The ’938 Patent issued from Application No. 16/359,540, filed March 20, 2019 with an

IDS disclosing, among other references, both Schacherer and Lanclos. Dkt. 26-3, 3/20/19 IDS,

at 4, 9-10; Dkt. 69 ¶¶ 73-75, 269-71. Shortly thereafter, on March 25, 2019 (before the Final

Written Decision was issued), DynaEnergetics disclosed the following materials from the ʼ422

IPR: Hunting’s IPR Petition (which cited, among other references, Schacherer and Lanclos),

DynaEnergetics’ Patent Owner Response, DynaEnergetics’ Motion to Amend, and the PTAB

Institution Decision. Dkt. 26-4, 3/25/19 IDS, at 4; Dkt. 69 ¶¶ 76-77, 272-73. Thus, Schacherer,

Lanclos, and the IPR materials were before the Examiner from the very beginning of

prosecution.

       On May 3, 2019, the Examiner issued an Office Action indicating that dependent claims

6 and 17 of the application would be allowable if rewritten in independent form, reasoning:

       Regarding claim 6 [an apparatus claim], the prior art fails to anticipate or make
       obvious (in the context of the pertinent claims) wherein at least a portion of the
       bulkhead is contained within a tandem seal adapter, and the wireless ground
       portion is in wireless electrical contact with the tandem seal adapter. Schacherer is
       considered to [sic] most relevant known prior art who discloses a bulkhead 84 that
       is contained within an outer housing 26 of the perforating gun and there is no
       disclosure of the outer housing 26 in electrical contact with the wireless ground
       portion 46.

       Regarding claim 17 [a method claim], the prior art fails to anticipate or make
       obvious (in the context of the pertinent claims) performing steps (a), (c), and (d) is
       performed before transporting the perforation gun system, and step (b) is
       performed at the wellbore site. Schacherer is considered to [sic] most relevant
       known prior art who discloses performing the claimed steps (including step (b))
       prior to transporting to the wellbore site (3:45-58).

Dkt. 26-5, 5/3/19 Non-Final Rejection, at 11 (emphasis added). The Examiner had applied

Schacherer to the claims as filed and had found that Schacherer did not disclose the allowable

subject matter. Id. DynaEnergetics amended the claims (accepting the Examiner’s finding that



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dependent claims would be allowable if rewritten in independent form) and received a Notice of

Allowance on September 11, 2019, and the ’938 Patent issued on November 12, 2019. Dkt. 69

¶¶ 87, 283. The extensive References Cited on the face of the ’938 Patent include Schacherer,

Lanclos, and the IPR materials submitted by DynaEnergetics in March 2019. Dkt. 63-2 at 3-4.

The “wireless ground portion [] in wireless electrical contact with the tandem seal adapter”

limitation—which was expressly cited as distinguishing the ʼ938 Patent claims over Schacherer

—is not arguably related to any of Hunting’s allegations regarding the particular limitations

addressed in the IPR Final Written Decision (e.g., “entirely within the perforating gun housing,”

“a shell configured for housing components of the detonator assembly,” “electrical contact

components” having a “line-in,” “lineout,” and “ground portions,” and an “insulator”). Dkt. 69

¶¶ 120-23, 316-19. In fact, the ’422 Patent does not even claim a tandem seal adapter or an

electrical connection between a ground portion and any other component, and the IPR Final

Written Decision does not include even a single cite identifying where in Schacherer the ’422

Patent’s claimed “ground portion” is allegedly disclosed, much less any purported interpretation

of the “ground portion.” Dkt. 69-1 at 10 (citing only to Hunting’s Petition). Hunting fails to

acknowledge, however, that its arguments regarding Schacherer’s supposed teachings of a

ground portion—arguments Hunting contends the ʼ938 Patent Examiner would have understood

only in light of the IPR Final Written Decision (Dkt. 69 ¶¶ 128-29, 324-25)—were in the Petition

that was before the ’938 Patent Examiner from nearly the application filing date. See Dkt. 69-2

at 47 (“Schacherer also teaches that the rotary electrical connectors 48 and 46 . . . each have two

electrical contacts . . . [t]he contacts on rotary electrical connection 48 correspond to a signal out

line and a ground line”).




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                 D. The ʼ161 and ʼ938 Post Grant Review Petitions and Decisions Denying
                    Institution.

        While the parties were awaiting a decision from the POP, Hunting filed two petitions for

post grant review (“PGR”) of the Patents-in-Suit on June 30, 2020 (ʼ161 Patent) and August 12,

2020 (ʼ938 Patent). The ʼ161 Patent PGR asserted invalidity based on US 2012/0247771 A1 to

Black, U.S. Patent No. 4,744,424 to Lendermon, Schacherer, and U.S. Patent No. 5,241,891 to

Hayes. The ʼ938 Patent PGR asserted invalidity based on Black, Lendermon, Schacherer, a 2008

Schlumberger Catalog, US 2016/0084048 A1 to Harrigan, a Schlumberger presentation

“EWAPS,” US 2015/0330192 A1 to Rogman, Lanclos, and US 2008/0149338 A1 to Goodman.

In each petition, Hunting argued that Schacherer taught nearly all claim elements of the

challenged patent.

        The PTAB denied institution of both petitions on January 19, 2021 and February 12,

2021, respectively. Exhibit C, Hunting Titan, Inc. v. DynaEnergetics Europe GmbH, PGR2020-

00072, Paper 7 (PTAB Jan. 19, 2021); Exhibit D, Hunting Titan, Inc. v. DynaEnergetics Europe

GmbH, PGR2020-00080, Paper 7 (PTAB Feb. 12, 2021). 5 In denying the ʼ161 PGR Petition, the

PTAB expressly rejected Hunting’s argument that Schacherer invalidated the asserted claims,

finding it did not disclose at least one directional locking fin as recited in claims 1-3, 7, and 13-

15 or a rotational coupling as recited in claims 2, 3, 8, 9, and 12-15. Exhibit C at 33-34. The

PTAB further concluded that “the vast majority of the grounds of unpatentability proposed by

Petitioner are deficient” and declined to institute on any ground. Id. at 36. The PTAB in the

ʼ938 PGR Petition (consisting of the same panel of judges as in the ʼ161 PGR) did not reach




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  In a further attempt to mislead the Court, Hunting fails to even acknowledge the petitions for post grant review it
filed against the ʼ161 and ʼ938 Patents and the Board’s denial of institution of both petitions in its Affirmative
Defense and Counterclaim.



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Hunting’s arguments on the merits, instead finding that institution was not warranted based on

the “voluminous and excessive possible grounds” presented in the petition. Exhibit D at 13.

IV.     STATEMENT OF THE ISSUES AND STANDARD OF REVIEW

        The issues to be decided by the Court are whether Hunting has, in either its affirmative

defense or counterclaim, (1) stated a plausible claim for inequitable conduct, or (2) met the

heightened pleading standard to state a claim for inequitable conduct. It has not. The standard

of review under Rule 12(b)(6) is de novo. Nano-Proprietary Inc. v. Canon, Inc., 537 F.3d 394,

399 (5th Cir. 2008). The standard of review under Rule 12(f) is abuse of discretion. United

States v. Coney, 689 F.3d 365, 379 (5th Cir. 2012).

 V.     LEGAL STANDARDS

        “[T]he habit of charging inequitable conduct in almost every major patent case has

become an absolute plague” on “not only the courts but also the entire patent system.”

Therasense, 649 F.3d at 1289 (internal quotations and citations omitted). In an effort to curb the

abusive use of this defense, the Federal Circuit has raised the bar for (1) proving inequitable

conduct, id. at 1290; and (2) pleading inequitable conduct. See Exergen Corp. v. Wal-Mart

Stores, Inc., 575 F.3d 1312, 1326-27 (Fed. Cir. 2009).

        To prove inequitable conduct, a defendant must show that (1) the patentee either made a

material misrepresentation or withheld material information from the PTO, (2) the patentee knew

of the falsity of its representation or the materiality of the information withheld, and (3) the

patentee did so with the specific intent to deceive the PTO. Id. at 1327; Therasense, 649 F.3d

1290. The materiality required to establish inequitable conduct is “but-for materiality,” that is,

“the court must determine whether the PTO would have allowed the claim if it had been aware of

the undisclosed reference.” Therasense, 649 F.3d at 1291. The specific intent to deceive must be




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“the single most reasonable inference able to be drawn from the evidence.” Star Scientific Inc. v.

R.J. Reynolds Tobacco Co., 537 F. 3d 1357, 1366 (Fed. Cir. 2008) (citations omitted).

       To plead inequitable conduct, a defendant must meet the heightened pleading standards

of Rule 9(b).   Exergen, 575 F.3d at 1327 (affirming denial of motion for leave to allege

inequitable conduct). An inequitable conduct pleading must detail the “who, what, when, where,

and how of the material misrepresentation or omission committed before the PTO.” Id. at 1326-

27. An inequitable conduct pleading must further allege facts showing but-for materiality. See

Ex. 26-6, Affinity Labs of TX, LLC v. Netflix, Inc., No. 15-cv-849-RP, Dkt. 44 at 7 (W.D. Tex.

Aug. 22, 2016) (granting motion to dismiss where defendant “failed to properly allege but-for

materiality”) (emphasis added); Ex. E, Eon Corp. IP Holdings, LLC v. T-Mobile USA, Inc., No.

6:10-CV-379-LED-JDL, 2011 WL 13134896, at *3 (E.D. Tex. Dec. 13, 2011) (noting that “a

pleading that does not show but-for materiality . . . would be [sic] not survive the pleading

stage”). Regarding intent, the pleading “must include sufficient allegations of underlying facts

from which a court may reasonably infer that a specific individual (1) knew of the withheld

material information or of the falsity of the material misrepresentation, and (2) withheld or

misrepresented this information with a specific intent to deceive the PTO.” Exergen, 575 F.3d at

1328-29.

       In reviewing a Rule 12(b)(6) motion, the court must determine whether a party has stated

a legally cognizable claim when all well-pleaded facts are (1) assumed true and (2) are viewed in

a light most favorable to the complainant. In re Katrina Canal Breaches Litig., 495 F.3d 191,

205 (5th Cir. 2007); Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A motion to strike may . . . be

granted when a defense that is subject to the heightened pleading standard of Rule 9(b) fails to

meet Rule 9(b)’s requirements.” Ex. F, Cabin Foods, LLC v. Rich Prods. Corp., No. EP-11-CV-




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318-KC, 2012 WL 433115, at *2 (W.D. Tex. Feb. 8, 2012). Pursuant to Rule 12(f), a court “may

strike from a pleading an insufficient defense.” Fed. R. Civ. P. 12(f). As set forth below,

Defendant’s allegations of inequitable conduct fail to set forth sufficient bases for the “but-for”

materiality element of inequitable conduct. Thus, Defendant’s inequitable conduct claim should

be dismissed and its affirmative defense stricken, “lest inequitable conduct devolve into ‘a magic

incantation to be asserted against every patentee.’” Exergen, 575 F.3d at 1331 (quoting FMC

Corp. v. Manitowoc Co., 835 F.2d 1411, 1415 (Fed. Cir. 1987)).

VI.      ARGUMENT

         Hunting’s allegations arise from DynaEnergetics’ alleged failure to cite the Final Written

Decision in IPR2018-00600 during prosecution of the applications that resulted in the ’161 and

’938 Patents. Hunting cannot establish that the Board’s interpretation of Schacherer in that

decision—which is not prior art at all—is but-for material to the patentability of the ʼ161 and

ʼ938 Patents, and, as a result, its inequitable conduct affirmative defense and counterclaim fail as

a matter of law. 6

                  A. The PTAB Expressly Rejected Hunting’s Arguments in its PGR Petitions
                     that Schacherer Invalidated the ʼ161 and ʼ938 Patents.

         Because Hunting cannot argue that DynaEnergetics withheld any material prior art

reference from the Examiner, it resorts to alleging that the PTAB’s interpretation of Schacherer

in the IPR Final Written Decision finding the original claims of the ʼ422 Patent (which is from a

different patent family and is significantly different in scope than the ʼ161 and ʼ938 Patents)

6
 Hunting fails to plead any of the required elements for inequitable conduct based on any alleged misrepresentation
or omission regarding Lanclos. Specifically, Hunting does not explain how Lanclos is “but for” material to the
patentability of the ʼ161 or ʼ938 Patents or what material misrepresentation or omission regarding Lanclos was
committed before the PTO. For at least this reason, Hunting’s allegations regarding Lanclos should be dismissed
and stricken. Further, Hunting fails to plead any of the required elements for inequitable conduct based on any
alleged failure to disclose the Petitioner’s Reply, Petitioner’s Opposition to Motion to Amend, Petitioner’s Sur-
Reply on the Motion to Amend and the Transcript of the Oral Hearing, including identifying how those documents
are but-for material to patentability. For at least this reason, Hunting’s affirmative defense and counterclaim for all
IPR materials other than the Final Written Decision should be dismissed and stricken.



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unpatentable is but-for material to the patentability of the ʼ161 and ʼ938 Patents. Not only is the

IPR Final Written Decision not prior art, but when faced with argument from Hunting in the

PGR petitions applying the exact same reference (Schacherer) in a similar manner to the ʼ161

and ʼ938 Patents, the PTAB found Hunting’s arguments unpersuasive and declined to institute

review.

          Like in the ʼ422 IPR Petition, in its PGR petitions, Hunting identified Schacherer as one

of the primary references purportedly invalidating the ʼ161 and ʼ938 Patents and argued that

Schacherer anticipated nearly every claim element in both patents. Of course, Schacherer is an

actual prior art reference while the IPR Final Written Decision is not. Nevertheless, Hunting

submitted the IPR Final Written Decision as an exhibit (Ex. 1010) with both petitions and

referenced the Board’s finding that the ʼ422 Patent was anticipated by Schacherer in the ʼ938

Petition (Hunting Titan, Inc. v. DynaEnergetics Europe GmbH, PGR2020-00080, Paper 1 at 6

(PTAB Aug. 12, 2020)). Hunting had an opportunity in its petitions for post grant review of the

ʼ161 and ʼ938 Patents to argue that the Board’s interpretation of Schacherer in the IPR Final

Written Decision supported its claim that the ʼ161 and ʼ938 Patents are unpatentable—which one

would expect it to do if the IPR Final Written Decision is at all material—but it did not do so.

To the contrary, in arguing that the Examiner overlooked the teachings of Schacherer with

respect to the “wireless ground portion is in wireless electrical contact with the tandem seal

adapter” feature, Hunting never once cited or relied on the IPR Final Written Decision or

identified any interpretation of Schacherer that the Board offered. Id. at 9.

          In its decision denying institution of the ʼ161 Patent, the PTAB expressly found that

Schacherer did not disclose at least two claim elements—“at least one directional locking fin”

required by claims 1 and 13 and a “rotational coupling” as required by claims 9, 14, and 15. Ex.




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C at 33-34. In its decision denying institution of the ʼ938 PGR, the same panel of judges found

that, “irrespective of whether there may be a potentially credible ground of unpatentability,”

there was no basis to institute review in light of the “voluminous and excessive possible

grounds” presented by Hunting. Ex. D at 13. Notably, in making such a determination, the

PTAB had the benefit of the IPR Final Written Decision and the POP’s ruling overturning that

decision in part, both of which were expressly cited by the parties during the PGR proceedings.

Indeed, the Board explicitly referenced the ʼ422 IPR proceedings including Petitioner’s

opposition to the motion to amend and the POP decision in its decision denying institution of the

ʼ938 PGR. Id. at 12.

       In short, the PTAB directly considered Hunting’s arguments that Schacherer disclosed

nearly all elements of the ʼ161 and ʼ938 Patents with the benefit of the IPR Final Written

Decision, and still found no basis to institute review or find the claims of either patent

unpatentable. The fact that the PTAB considered and rejected Hunting’s invalidity arguments

based on the same reference asserted in the ʼ422 IPR while in possession of the Board’s

interpretation of that reference in the IPR Final Written Decision prevents a finding that the Final

Written Decision is but-for material to the patentability of the ʼ161 and ʼ938 Patents as a matter

of law.    For example, in Cal. Inst. of Tech. v. Broadcom Ltd., the Court explained that

counterclaims for inequitable conduct based on prior art references must be dismissed under

similar circumstances:

          The disputed issue is whether the Patent Office would have found the omitted
          references but-for material to the patentability of the Asserted Patents. The
          Patent Office had a later opportunity to consider two of those exact references,
          and concluded that the claims were not invalid based on a combination of those
          references with other prior art.

Ex. G, No. CV 16-3714-GW (AGRx), 2019 WL 8807748, at *6-7, n.7 (C.D. Cal. July 1, 2019).




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        Hunting simply cannot explain how the IPR Final Written Decision would have led the

Examiner to reach a different conclusion regarding the patentability of the ʼ161 and ʼ938 Patents

when the Boards reviewing Hunting’s petitions for PGR of those patents found no basis to

institute review or even address the Board’s interpretation of Schacherer in the IPR Final Written

Decision. Because Hunting fails to demonstrate the requisite but-for materiality to support its

assertion of inequitable conduct, its counterclaim must be dismissed and affirmative defense

stricken. See Ironburg Inventions Ltd. v. Valve Corp., 418 F. Supp. 3d 622, 632-633 (W.D.

Wash. 2019) (granting motion for summary judgment and motion to strike affirmative defense

and counterclaim for inequitable conduct based on failure to disclose reference which was

considered by PTO during inter partes review and for which institution was denied).

                 B. The IPR Final Written Decision Is Not But-For Material to the
                    Limitations of the ʼ161 and ʼ938 Patents.

        Even if the Board had not dismissed Hunting’s argument that Schacherer invalidated the

ʼ161 and ʼ938 Patents in its PGR petitions (which it did), the only allegations purporting to

support but-for materiality with respect to the ’161 Patent is Hunting’s statement that the IPR

Final Written Decision discussed Schacherer’s teachings regarding components “entirely within

the perforating gun housing.” 7 Hunting asserts this discussion is supposedly material to the ’161

Patent claim terms “a gun carrier,” “within the gun carrier,” “in the gun carrier,” and “in the

perforating gun system” and that the Board in the IPR Final Written Decision found the prior art

taught components in the housing including a detonator, a detonating cord, and one or more

charges.    Dkt. 69 ¶¶ 148, 155, 344, 351.             But, as explained above, the Examiner already

considered the Schacherer publication during prosecution of the ’161 Patent and allowed the

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  Hunting does not explain why the Examiner prosecuting the ʼ161 Patent would have found the Board’s discussion
of Schacherer teaching “entirely within the perforating gun housing” in the IPR Final Written Decision material to
patentability when even the POP was not convinced that Schacherer disclosed that feature. Ex. A at 21 (“[I]t is not
clear that Schacherer discloses a detonator assembly contained entirely within the perforating gun housing”).



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’161 Patent to issue, including finding the ʼ161 Patent claims to be patentable over Schacherer.

In fact, the claim terms identified by Hunting were never at issue with respect to patentability

during prosecution of the ’161 Patent. Hunting’s conclusory allegations with respect to these

claim elements of the ’161 Patent are insufficient to serve as a foundation for but-for materiality.

       Hunting’s allegations supporting materiality with respect to the ʼ938 Patent fare no better.

Specifically, Hunting’s allegations omit any discussion of how particular claim limitations

addressed in the IPR Final Written Decision (e.g., “entirely within the perforating gun housing,”

“a shell configured for housing components of the detonator assembly,” “electrical contact

components” having a “line-in,” “lineout,” and “ground portions,” and an “insulator”) are but-for

material to the patentability of the ʼ938 Patent claims, instead merely stating in a conclusory

fashion that they are. See Dkt. 69 ¶¶ 120-23, 316-19. Even assuming, arguendo, that the ʼ938

Patent’s claimed “wireless ground portion [] in wireless electrical contact with the tandem seal

adapter” limitation somehow implicates the ʼ422 Patent’s claimed “ground portion”—despite the

additional requirements in the ʼ938 Patent for a tandem seal adapter and electrical contact

between the two—the IPR Final Written Decision offered no analysis or interpretation for the

claimed “ground portion” that would have affected the Examiner’s determination of

patentability. Accordingly, none of Hunting’s allegations (limited to other claim elements of the

’938 Patent) would have created a prima facie case of unpatentability of the ’938 Patent.

       Moreover, Hunting cannot demonstrate that the ʼ422 IPR Final Written Decision was but-

for material when DynaEnergetics had already disclosed to the Examiner other materials from

the IPR, including the “key piece[s] of prior art in IPR2018-0000,” Schacherer, and Lanclos, as

well as the Petition. Indeed, it is undisputed from the face of the ’938 Patent that the PTO

(1) knew about the IPR proceeding; (2) considered both Schacherer and Lanclos; and




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(3) considered    Hunting’s    IPR    Petition,   DynaEnergetics’      Patent    Owner     Response,

DynaEnergetics’ Motion to Amend, and the PTAB Institution Decision, which constitute

interpretation of the teachings of Schacherer and Lanclos. In fact, the entire IPR proceeding and

record was readily available to the Examiner. In essence, Hunting is alleging that although

DynaEnergetics submitted the “key” prior art as well as the parties’ arguments regarding the

same and the PTAB’s Institution Decision, the Examiner would not have issued the ’938 Patent

(unrelated to the ’422 Patent) had DynaEnergetics submitted the PTAB’s Final Written Decision.

It is undisputed, however, that the Examiner had before him (1) Schacherer, (2) Lanclos, and (3)

Hunting’s arguments regarding the same. That the Examiner found the claims of the ʼ938 Patent

patentable over such evidence overwhelmingly demonstrates that the PTAB’s interpretation of

that same evidence in the Final Written Decision is not but-for material as a matter of law and, as

a result, Hunting’s inequitable conduct allegations should be dismissed and stricken. See Dkt.

26-6, Affinity Labs of TX, Dkt. 44 at 5-7; see also Ex. H, Polaris Indus. v. Arctic Cat, Inc., No. 14-

3412 (JRT/FLN), 2015 WL 4636544, at *5-7 (D. Minn. Aug. 4, 2015) (dismissing inequitable

conduct allegations based on IPR petition because underlying prior art at issue in IPR was in front

of examiner during prosecution).

VII.     CONCLUSION

         For the foregoing reasons, Defendant’s inequitable conduct counterclaim and affirmative

defense are insufficient as a matter of law. DynaEnergetics respectfully requests that the Court

dismiss the Third Counterclaim and strike the Fifth Affirmative Defense of Defendant’s Answer

and Counterclaim (Dkt. 69) with prejudice.




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Dated: September 24, 2021               Respectfully submitted,

                                        WOMBLE BOND DICKINSON (US) LLP

                                        By: /s/ Barry J. Herman
                                        Barry J. Herman (pro hac vice)
                                        Admitted to the Maryland State Bar
                                        100 Light St, 26th Floor
                                        Baltimore, MD 21202
                                        Telephone: (410) 545-5830
                                        Email: Barry.Herman@wbd-us.com

                                        Attorney-in-Charge for Plaintiffs DynaEnergetics
                                        Europe GmbH and DynaEnergetics US, Inc.
OF COUNSEL:

WOMBLE BOND DICKINSON (US) LLP
Preston H. Heard (pro hac vice)
Georgia Bar No. 476319
Christine H. Dupriest (pro hac vice)
Georgia Bar No. 874494
271 17th Street, NW, Suite 2400
Atlanta, GA 30363
Telephone: (404) 888-7366
Email: Preston.Heard@wbd-us.com
Telephone: (404) 962-7538
Email: Christine.Dupriest@wbd-us.com

WOMBLE BOND DICKINSON (US) LLP
Ana J. Friedman (pro hac vice)
North Carolina Bar No. 53117
One West Fourth Street
Winston-Salem, NC 27101
Telephone: (336) 747-6622
Email: Ana.Friedman@wbd-us.com

WOMBLE BOND DICKINSON (US) LLP
Julie Giardina (pro hac vice)
Admitted to the Maryland State Bar
100 Light St, 26th Floor
Baltimore, MD 21202
Telephone: (410) 545-5800
Email: Julie.Giardina@wbd-us.com




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MOYLES IP, LLC
Lisa J. Moyles (pro hac vice)
Connecticut State Bar No. 425652
Jason M. Rockman (pro hac vice)
New York Bar No. 4450953
One Enterprise Drive, Suite 428
Shelton, CT 06484
Telephone: (203) 428-4420
Email: lmoyles@moylesip.com
Email: jrockman@moylesip.com

RUSTY HARDIN & ASSOCIATES, LLP
Megan C. Moore
Federal Bar No. 963966
Texas Bar No. 24054322
Terry D. Kernell
Texas Bar No. 11339020
5 Houston Center
1401 McKinney Street, Suite 2250
Houston, Texas 77010
Telephone: (713) 652-9000
Email: mmoore@rustyhardin.com

Attorneys for Plaintiffs DynaEnergetics Europe
GmbH and DynaEnergetics US, Inc.




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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has

been served on all counsel of record through the Court’s CM/ECF service on this 24th day of

September, 2021.

                                                     /s/ Megan C. Moore
                                                    Megan C. Moore
